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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
V. Criminal No. 21-0123 (PLF)
VITALI GOSSJANKOWSKI,
Defendant.
)
ORDER

In connection with his conduct at the U.S. Capitol on January 6, 2021, defendant
Vitali GossJankowski was charged with: (1) civil disorder, in violation of 18 U.S.C. § 231(a)(3);
(2) obstruction of an official proceeding, in violation of 18 U.S.C. §§ 1512(c)@) and 2;
(3) assaulting, resisting, or impeding a federal officer using a dangerous weapon, in violation
of 18 U.S.C. §§ 111(a)(1) and (b); (4) entering and remaining in a restricted building or grounds
with a deadly or dangerous weapon, in violation of 18 U.S.C. § 1752(a)(1) and (b)(1)(A);
(5) disorderly and disruptive conduct in a restricted building or grounds with a deadly or
dangerous weapon, in violation of 18 U.S.C. § 1752(a)(2) and (b)(1)(A); and (6) disorderly
conduct in a Capitol building, in violation of 40 U.S.C. § 5104(e)(2)(D). See Second
Superseding Indictment [Dkt. No. 127]. On March 16, 2023, a jury retumed guilty verdicts on
Counts 1, 2, and 6, and guilty verdicts on the following included charges in Counts 3, 4, and 5:
on Count 3, assaulting, resisting, or impeding a federal officer while making physical contact
with the victim and with the intent to commit another felony; on Count 4, entering and remaining
in a restricted building or grounds; and on Count 5, disorderly and disruptive conduct in a

restricted building or grounds. See Signed Verdict Form [Dkt. No. 163]. The jury found Mr.
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GossJankowski not guilty of the statutory “deadly or dangerous weapon” enhancements. See id.

Following the Supreme Court’s decision in Fischer v. United States, 603 U.S. 480 (2024), the
Court granted the Soveramenks unopposed motion to dismiss Count 2, charging violations
of 18 U.S.C. § 1512(c)(2). See Order [Dkt. No. 228].

While Mr. GossJankowski has filed post-trial motions that remain pending, the
Court concludes that it is prudent to set forth a schedule for sentencing. With the understanding
that the parties will have a draft presentence investigation report before the end of January 2025,
it is hereby

ORDERED that counsel for the government and the defendant shall each submit
sentencing memoranda in support of sentencing on or before February 5, 2025; it is

FURTHER ORDERED that counsel for the government shall submit a response
to the defendant’s memorandum on or before February 12, 2025; it is

FURTHER ORDERED that counsel for the defendant shall submit a response to
the government’s sentencing memorandum on or before February 19, 2025; and it is

FURTHER ORDERED that the parties shall appear in person for a sentencing
hearing on March 4, 2025 at 10:00 a.m. in Courtroom 29 in the William B. Bryant Annex to the

E. Barrett Prettyman Courthouse at 333 Constitution Avenue N.W., Washington, D.C. 20001.

PAUL L. FRIEDMAN
United States District Judge

SO ORDERED.

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